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                         Exhibit 5
           Declaration of Assistant Food Services
                 Administrator T. Mazon


                    Mostafa v. Garland, et al.,
              No. 20-cv-00694-PAB-SKC (D. Colo.)
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-00694-PAB-SKC

  MOSTAFA KAMEL MOSTAFA,

         Plaintiff,

  v.

  MERRICK GARLAND, United States Attorney General, in his official capacity,
  CHRISTOPHER WRAY, FBI Director, in his official capacity,
  MICHAEL CARVAJAL, BOP Director, in his official capacity,
  B. TRUE, ADX Warden, in his official capacity,
  TUTOILUMUNDO, ADX Unit Manager, in his official capacity,
  MACMILLAN, ADX Facilities Department, in his official capacity,
  FOLLOWS, ADX Medical Department Manager, in her individual capacity,
  LOEWE, ADX officer, in his individual capacity,
  NORJANO, ADX Officer, in his individual capacity,
  CHOROSEVIC, ADX Occupational Therapist, in his individual capacity,
  PARRY, ADX Officer, in his individual capacity,
  AVERIT, ADX Officer, in his individual capacity,
  GARDUNO, ADX Lieutenant, in his individual capacity,
  WILLIAM, ADX Nurse, in his individual capacity,
  HUDELSTON, ADX Nurse, in his individual capacity,
  STERETT, ADX Doctor, in his individual capacity,
  ARMIJO, ADX Lieutenant, in his individual capacity, and
  EDWARDS, ADX Officer, in his individual capacity,

         Defendants.

   DECLARATION OF ASSISTANT FOOD SERVICES ADMINISTRATOR T. MAZON

         I, Assistant Food Services Administrator T. Mazon, pursuant to 28 U.S.C. § 1746, and

  based upon my personal knowledge and information made known to me from official records

  reasonably relied upon by me in the course of my employment, hereby declare as follows

  relating to the above-titled matter.

         1.      I am the Assistant Food Services Administrator with the Federal Bureau of


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  Prisons (Bureau) at the Federal Correctional Complex in Florence, Colorado (FCC Florence).

  FCC Florence includes four separate institutions: the Federal Prison Camp (FPC) (minimum

  security), the Federal Correctional Institution (FCI) (medium security), the United States

  Penitentiary Florence – High Security (USP), and the United States Penitentiary Florence –

  Administrative Maximum (ADX). I have been employed by the Bureau, in positions of

  increasing responsibility, since August 27, 2012. I have held the position of Assistant Food

  Services Administrator at the ADX since February 3, 2021.

         2.         In connection with my employment, I have knowledge of the manner in which

  meals for inmate Mostafa Kamel Mostafa, register number 67495-054, are prepared and

  presented to him. I also have access to records maintained in the ordinary course of business by

  the Bureau. The attachments to this declaration are true and accurate copies of Bureau record

  maintained in the ordinary course of business.

         3.      I am aware that Mostafa claims that, because of a disability, he does not have

  access to halal meals at ADX. That is not the case. Food Services follows special procedures for

  preparing and presenting Mostafa’s meals that can be applied to any meal he selects.

         4.      At Mostafa’s request, all contents of his food trays, including prepackaged heated

  entrees, are removed from their packaging and placed on a separate, hard tray so that the food is

  easily accessible to him. See June 9, 2021 Memorandum for FCC Florence Food Service Staff,

  Attachment 1. 1

         5.      Other packaged items, such as peanut butter, jelly, margarine, tuna, sardines,



  1
   Mostafa is aware that staff must handle his food in this manner and has approved the use of
  these procedures. See id.

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  potato chips, and condiments, are opened and placed in separate areas of a hard food tray or trays

  for easy access by Mostafa. Depending on the meal, Mostafa may receive as many as three

  separate hard food trays. For example, this means that peanut butter and condiments are

  squeezed onto the trays, in separate areas. Food Services staff try to keep all items separate to

  prevent them from spilling or leaking into each other. That can be difficult, especially when

  some items, like ketchup or salad dressing, are liquid and can easily run.

         6.      Fresh fruit is peeled and placed on the tray. Apples are cut into quarters so that

  Mostafa can more easily handle them. The memorandum says that apples are halved, but

  Mostafa asked that they be quartered, and Food Services has honored that request.

         7.      Beverages are opened and poured into cups. Mostafa prefers that his milk be

  provided in a paper carton, so Food Services staff open the carton and place it on a tray.

         8.      While Mostafa has selected the Certified Religious Diet Menu, sometimes called

  the kosher or “common fare” meal, he can request a halal menu or any other available menu.

  Food Services staff will prepare whatever menu he chooses, including a halal menu, in the

  manner described above, i.e., removing the packaging for the heated entree, opening any other

  sealed items, cutting fresh fruit, and pouring beverages. What meal he chooses is up to him.

         9.      There is no impediment to Mostafa receiving a halal meal and consuming halal

  food at ADX.

         10.     On May 2, 2022, Mostafa received a dinner meal with meat. See Certified

  Religious Diet Menu served week beginning May 1, 2022, Attachment 2.




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         Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

  foregoing is true and correct to the best of my information, knowledge, and belief.

         Executed on August 17, 2022, in Florence, Colorado.


                                                       /s/ T. Mazon
                                                       T. Mazon
                                                       Assistant Food Services Administrator
                                                       ADX Florence
                                                       Federal Bureau of Prisons



  Attachments:

  Attachment 1: 6/9/2021 Memorandum re: Food Preparation for Inmate Mostafa
  Attachment 2: Certified Religious Diet Menu served week beginning May 1, 2022




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                             Attachment 2
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